 

Case 4:20-cv-01562 Document 8

Chief Judge Lee H. Rosenthal
U.S. Courthouse

515 Rusk St.

Houston, Texas 77002

July 28", 2020

Courtesy Copy.
Amicus 44.

Godspeed

drew Christenson
Box 9063
Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

 

Filed on 08/07/20 in TXSD_ Page 1 of 10

RECEIVED IN CHAMBERS
Kod OS Feil

LEE H. ROSENTHAL
CHIEF U.S. DISTRICT JUDGE

"United Stat
es Cou
Southern District of Teas
FILED

AUG 04 2020

David y., Bradley, Clerk of Court
 

 

 

 

 

Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 2 of 10

Benitez-White v. Peoples Republic of China (4:20-cv-01562) District Court, $.D. Texas Judge Ewing
Werlein Jr. Federal Court - 515 Rusk Street - Houston, TX 77002

Movant David Andrew Christenson

July 28°", 2020

Motion for Leave to File Amicus 44 — If Justice Ruth Bader Ginsburg dies, or another Supreme Court
Justice, you will see a Republican U.S. Senator, from a State with a Democratic for a Governor,
assassinated.

We have created a world where assassination is a political, legal, ethical and moral option.
Assassination is now a form of “hard core” voting. If you don’t like somebody or you don’t agree with
them, you just kill them. Assassination is contagious. It is a form of suicide. We have all of the tools we
need to prevent this in the Constitution. There is no position in society that is immune to this.
(Remember that we have had Federal Judges resign because of conduct that is reprehensible and
criminal.)

Governors that are Democrat will appoint a Democrat to be the State’s U.S. Senator thus stopping the
Supreme Court Conformation process.

THERE WILL BE A CIVIL WAR!!!

Republican Senator Thom Tillis or Republican Senator John Kennedy sit on the Judiciary Committee and
will receive the most visibility, therefore they are at the top of the list for assassination.

The only way to stop the Civil War is to change the Narrative.
Filed in the following cases:

1. United States v. Boucher (1:18-cr-00004) District Court, W.D. Kentucky Judge Marianne O.
Battani Federal Court - 231 W. Lafayette Blvd., Room 252 - Detroit, MI 48226

2. United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

3. United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

4. Greco v. Peoples Republic of China (5:20-cv-02235) District Court, E.D. Pennsylvania Judge Anita
Blumstein Brody Federal Court - 601 Market Street - Philadelphia, PA 19106

5. Patella v. Peoples Republic of China (1:20-cv-00433-TDS-JEP) District Court, M.D. North Carolina
Judge Thomas D. Schroeder Federal Court - 251 N. Main Street - Winston-Salem, NC 27101

6. Benitez-White v. Peoples Republic of China (4:20-cv-01562) District Court, $.D. Texas Judge
Ewing Werlein Jr. Federal Court - 515 Rusk Street - Houston, TX 77002

7. State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-RHW) District Court, S.D.
Mississippi Judge Louis Guirola Jr. Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
39501
Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 3 of 10

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

21.

22.

23.

24.

25.

26.

27.

Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457-TAD-KLH) District Court,
W.D. Louisiana Judge Terry Alvin Doughty Federal Court - 201 Jackson Street - Suite 215 -
Monroe, Louisiana 71201

Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E.D. Louisiana Hon N. V.
Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70130

State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E.D. Missouri Judge
Stephen Limbaugh - Federal Court - 555 Independence Street - Cape Girardeau, MO 63703
Alters v. Peoples Republic of China (1:20-cv-21108) District Court, $.D. Florida Judge Ursula
Ungaro Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128

Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada Judge
James C. Mahan - Federal Court - 333 S. Las Vegas Blvd - Las Vegas, NV 89101

Buzz Photo v. Peoples Republic of China (3:20-cv-00656) District Court, N.D. Texas Judge Ed
Kinkeade Federal Court - 1100 Commerce St. - Room 1625 - Dallas, Texas 75242

Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.
California Judge David O. Carter - Federal Court - 411 West Fourth St. - Courtroom 9D - Santa
Ana, CA, 92701

Bourque CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D.
California Judge R. Gary Klausner - Federal Court - 255 East Temple Street - Los Angeles, CA
90012

Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K.
Altman Federal Court - 299 East Broward Blvd. - Fort Lauderdale, Fl. 33301

Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19106

United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge John Gleeson
Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 10022

United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Attorney Beth
Wilkinson - 2001 M Street N.W. - 10th Floor - Washington, D.C. 20036

United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John
Trenga Federal Court - 401 Courthouse Square - Alexandria, VA 22314

United States v. Snowden (1:19-cv-01197) District Court, E.D. Virginia Judge Liam O'Grady
Federal Court - 401 Courthouse Square - Alexandria, VA 22314

United States v. Snowden (1:13-cr-265)) District Court, E.D. Virginia Senior Judge Claude M.
Hilton Federal Court - 401 Courthouse Square - Alexandria, VA 22314

United States v. Winner (1:17-cr-00034) District Court, S.D. Georgia Judge James Randal Hall
Federal Court - 600 James Brown Blvd. - Augusta, GA 30901

United States v. Assange (1:18-cr-00111) District Court, E.D. Virginia Senior Judge Claude M.
Hilton Federal Court - 401 Courthouse Square - Alexandria, VA 22314

In re: Michael Flynn (20-5143) Court of Appeals for the D.C. Circuit Clerk Mark Langer U. S.
Appeals Court D.C. - 333 Constitution Ave. N.W. - Washington D.C. 20001

In re: Reality Winner (20-11692) Court of Appeals for the 11" Circuit Clerk David Smith Appeals
Court 11" Circuit - 56 Forsyth St., N.W. - Atlanta, Georgia 30303

Center for Democracy & Technology v. Trump (1:20-cv-01456) District Court, District of
Columbia Judge Trevor Neil McFadden - Federal Court - 333 Constitution Ave. N.W. -
Washington D.C. 20001

 

 

 
Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 4 of 10

28. McCarthy v. Pelosi (1:20-cv-01395-RC) District Court, District of Columbia Judge Rudolph
Contreras - Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

29. Judicial Watch, Inc. v. Department of State (1:14-cv-01242-RCL) District Court, District of
Columbia Judge Royce C. Lamberth - 333 Constitution Ave. N.W. - Washington D.C. 20001

30. United States v. Bolton (1:20-cv-01580-RCL) District Court, District of Columbia Judge Royce C.
Lamberth - 333 Constitution Ave. N.W. - Washington D.C. 20001

Godspeed

   

avid Andrew-Christénson
Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

   

CERTIFICATE OF SERVICE
| hereby certify that on July 2 g with the Clerk of Court and

yg p e fore
served the pleading all cpfuaselLefrec y @-mail and first-class mail.

c DavittAndrew Christenson

 
  

 
 

RECEIVED
Personal and Confidential to: Judge Colkgerv OOMaHON”

2018SEP 14 ANIO: 37

Senator Bill Nelson
716 Senate Hart Office Building
Washington, DC 20510

This is a very important document about Justice Brett Kavanaugh. Read the first attachment (only
page 1 of 33 pages is included) which is a letter to Judge Brett Kavanaugh/Amended Emergency
Motion for Reconsideration of Order of Dismissal and Civil Judgement. Judge McMahon took the
letter to Judge Kavanaugh, which was the second page, and placed It as the first page. The letter is
date time stamped as July 13", 2018 but not placed Into the pubic docket until September 6", 2018.
The docket is attached and the letter and its 33 pages are docket item 19.

 

> Two facts which the you know to be true. Mankind will cease to exist by October 12", 2050 and
suicides will outnumber births in the next few decades. These facts are not prophecies or
predictions but mathematically certainties. Do the simple math.

This case, Christenson v. Democratic National Committee (1:18-cv-05769) District Court, S.D. New York,
was filed on June 26", 2018 and dismissed by Judge Colleen McMahon two days later on June 28",
2018. The case mirrors the Democratic National Committee v. The Russian Federation (1:18-cv-03501)
District Court, S.D. New York. 50 of my pleadings have been filed in the DNC case. Read the complaint
about Chief Justice John Roberts and his wife, Jane Sullivan Roberts, and me. They are covering up the
truth.

Judge McMahon had no legal, ethical or moral obligation to docket my pleadings on September 6",
2018. Docket line items 18, 19 and 20. She has returned all of my pleadings until now. The court dockets
everything | send them in the secret, for judge’s eyes only, non-public docket. When you review a
docket, you will notice that some docket numbers are skipped. This is true Nazi Censorship.

Docket 18 is titled: Emergency Motion for Reconsideration of Order of Dismissal and Civil Judgement
and is 26 pages (only the first page is attached). What is very unusual about this pleading is that it
contains pleadings filed with the Second Appeals Circuit — Appeal Memorandum July 11", 2018,

Amended Notice of Appeal and a personal letter by me to Chief Justice Robert A. Katzmann. There is
also a “Fourteen Amended Petition for Rehearing” filed with the Supreme Court on October 20", 2015.
The title is “Suicide Strong”. Writ 14-10077 can be found at Amazon.com or Barnes & Noble and is titled:
The Supreme Court Murdered Mankind Writ 14-10077 The Katrina Virus. My other books are there as
well.

Docket 19 is titled: (Letter to:) Judge Brett Kavanaugh and is 33 pages (only the first page is attached).
Judge McMahon consolidated pleadings from other courts. Received July 13", 2018 and docketed
September 6", 2018.

Docket 20 is not even a pleading and is titled: Personal and Private letter to: Judge Colleen McMahon
and is six pages (only the first page is attached). Received July 13", 2018 and docketed September 6",
 

2018. Read page 5. My book, The United States Supreme Court and The Katrina Virus, and all references
to the book and me were removed (censored/sanitized) from the Library of Congress. The book has a
Library of Congress of Control Number (LCCN).

Godspeed

Sincerely,

David Andrew Christenson

Box 9063 Miramar Beach

Florida 32550

504-715-3086
davidandrewchristenson@gmail.com;

dchristenson6@hotmail.com;
’ Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 7 of 10

Chief Judge Lee H. Rosenthal
U.S. Courthouse

515 Rusk St.

Houston, Texas 77002

July 31%, 2020

Courtesy Copy Amicus 46.

Godspeed

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

L Le
David Andre enson

RECEIVED IN CHAMBERS
hug %4 Fill

LEE H. ROSENTHAL
CHIEF U.S. DISTRICT JUDGE
Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 8 of 10

Benitez-White v. Peoples Republic of China (4:20-cv-01562) District Court, S.D. Texas Judge Ewing
Werlein Jr. Federal Court - 515 Rusk Street - Houston, TX 77002

Movant David Andrew Christenson

July 31%, 2020

Motion for Leave to File Amicus 46 — A simple example of how Mankind is committing suicide. ARE YOU
COMMITTING SUICIDE? A simple example of how and why Religions, Governments, the Media, the
Medical Community, the Mental Health Community and Admiral and Generals are murdering Mankind.

Why are they not telling us to do this? It is such a simple fix much like changing the Narrative.
HEPA FILTER — EQUALS - CHANGING THE NARRATIVE

Are you, your place of employment and everywhere you go using a HEPA Filter? HEPA is a type of
pleated mechanical air filter. It is an acronym for “high efficiency particulate air filter”. The cost is less
then $20.00 for three months protection.

My wife’s mother contracted COVID19 because Brookdale assisted living facility in Sandestin Florida did
not use HEPA Filters. They used and continue to use the cheapest fiberglass filters they can buy. She
pays them $60,000.00 per year to keep her safe and they can’t spend a few dollars more. COVID19 may
never have survived at Brookdale if they had used HEPA Filters.

Everywhere/place should have a HEPA Filter with a MERV Rating of 16. (MERV - Minimum Efficiency
Reporting Values)

A HEPA Filter removes at least 99.97% of dust, pollen, mold, bacteria, and any airborne particles witha
size of 0.3 microns (um). WATER DROPLETS.

COVID19 attaches to dust, pollen, mold, bacteria, and any airborne particles with a size of 0.3 microns
(um). It attaches to water/moisture/saliva/mucus/phlegm/etc.

HEPA will remove those particles that are carrying COVID19. What a simple fix.

Place your fan to the on position and run you air conditioner at 71 degrees and you will eliminate 99.7%
of COVID19. The 71 degrees will reduce moisture and thus the ability of COVID19 to attach to anything.
This is why your AC has a drain for water. It also stops COVID19 from reproducing. COVID19 needs
motion to reproduce. Running the fan constantly will remove COVID19.

God gave me this knowledge when he gave me allergies after Hurricane Katrina. 1 am an Air Force Pilot
who did not have allergies. It was a requirement that you couldn’t have allergies to be an Air Force Pilot.
God gave me pneumonia as well.

God gave me miracles wrapped in shit but | realized that the knowledge that | gained were miracles.
These miracles were given to me so that | could save Mankind by changing the Narrative.
* Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 9 of 10

10.

11.

12.

13.

14,

15.

16.

17.

18.

Filed in the following cases:

United States v. Boucher (1:18-cr-00004) District Court, W.D. Kentucky Judge Marianne O.
Battani Federal Court - 231 W. Lafayette Blvd., Room 252 - Detroit, MI 48226

United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

Greco v. Peoples Republic of China (5:20-cv-02235) District Court, E.D. Pennsylvania Judge Anita
Blumstein Brody Federal Court - 601 Market Street - Philadelphia, PA 19106

Patella v. Peoples Republic of China (1:20-cv-00433-TDS-JEP) District Court, M.D. North Carolina
Judge Thomas D. Schroeder Federal Court - 251 N. Main Street - Winston-Salem, NC 27101
Benitez-White v. Peoples Republic of China (4:20-cv-01562) District Court, S.D. Texas Judge
Ewing Werlein Jr. Federal Court - 515 Rusk Street - Houston, TX 77002

State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-RHW)} District Court, S.D.
Mississippi Judge Louis Guirola Jr. Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
39501

Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457-TAD-KLH) District Court,
W.D. Louisiana Judge Terry Alvin Doughty Federal Court - 201 Jackson Street - Suite 215 -
Monroe, Louisiana 71201

Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E.D. Louisiana Hon N. V.
Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70130

State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E.D. Missouri Judge
Stephen Limbaugh - Federal Court - 555 Independence Street - Cape Girardeau, MO 63703
Alters v. Peoples Republic of China (1:20-cv-21108) District Court, $.D. Florida Judge Ursula
Ungaro Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128

Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada Judge
James C. Mahan - Federal Court - 333 S. Las Vegas Blvd - Las Vegas, NV 89101

Buzz Photo v. Peoples Republic of China (3:20-cv-00656) District Court, N.D. Texas Judge Ed
Kinkeade Federal Court - 1100 Commerce St. - Room 1625 - Dallas, Texas 75242

Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.
California Judge David O. Carter - Federal Court - 411 West Fourth St. - Courtroom 9D - Santa
Ana, CA, 92701

Bourque CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D.
California Judge R. Gary Klausner - Federal Court - 255 East Temple Street - Los Angeles, CA
90012

Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, $.D. Florida Judge Roy K.
Altman Federal Court - 299 East Broward Blvd. - Fort Lauderdale, Fl. 33301

Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19106

United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge John Gleeson
Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 10022
Case 4:20-cv-01562 Document 8 Filed on 08/07/20 in TXSD Page 10 of 10

19. United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Attorney Beth
Wilkinson - 2001 M Street N.W. - 10th Floor - Washington, D.C. 20036

20. United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John
Trenga Federal Court - 401 Courthouse Square - Alexandria, VA 22314

21. United States v. Snowden (1:19-cv-01197) District Court, £.D. Virginia Judge Liam O'Grady
Federal Court - 401 Courthouse Square - Alexandria, VA 22314

22. United States v. Snowden (1:13-cr-265)) District Court, E.D. Virginia Senior Judge Claude M.
Hilton Federal Court - 401 Courthouse Square - Alexandria, VA 22314

23. United States v. Winner (1:17-cr-00034) District Court, $.D. Georgia Judge James Randal Hall
Federal Court - 600 James Brown Blvd. - Augusta, GA 30901

24. United States v. Assange (1:18-cr-00111) District Court, E.D. Virginia Senior Judge Claude M.
Hilton Federal Court - 401 Courthouse Square - Alexandria, VA 22314

25. In re: Michael Flynn (20-5143) Court of Appeals for the D.C. Circuit Clerk Mark Langer U. S.
Appeals Court D.C. - 333 Constitution Ave. N.W. - Washington D.C. 20001

26. In re: Reality Winner (20-11692) Court of Appeals for the 11" Circuit Clerk David Smith Appeals
Court 11° Circuit - 56 Forsyth St., N.W. - Atlanta, Georgia 30303

27. Center for Democracy & Technology v. Trump (1:20-cv-01456) District Court, District of
Columbia Judge Trevor Neil McFadden - Federal Court - 333 Constitution Ave. N.W. -
Washington D.C. 20001

28. McCarthy v. Pelosi (1:20-cv-01395-RC) District Court, District of Columbia Judge Rudolph
Contreras - Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

29. Judicial Watch, Inc. v. Department of State (1:14-cv-01242-RCL) District Court, District of
Columbia Judge Royce C. Lamberth - 333 Constitution Ave. N.W. - Washington D.C. 20001

30. United States v. Bolton (1:20-cv-01580-RCL) District Court, District of Columbia Judge Royce C.
Lamberth - 333 Constitution Ave. N.W. - Washington D.C. 20001

Godspeed

   

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;

dchristenson6@hotmail.com;

 
  
 

| hereby certify that on J i pe foregoing with the Clerk of Court and
served the pleadina bacl oreeordby-e-may and first-class mail.
1 —— .

 

David Andrew Christenson
